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19                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
20                              SOUTHERN DIVISION
21      MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and           )
22      CERCACOR LABORATORIES, INC.,          )
        a Delaware corporation                ) SUPPLEMENTAL RESPONSE
23                                            ) REGARDING UNJUST
                 Plaintiffs,                  ) ENRICHMENT
24                                            )
            v.                                )
25                                            ) Hon. James V. Selna
26      APPLE INC., a California corporation ))
                 Defendant.                   )
27                                            )
28                         REDACTED VERSION OF DOCUMENT
                          PROPOSED TO BE FILED UNDER SEAL
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4
                B.       Apple misappropriated Masimo’s trade secrets to measure
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1                                      I. INTRODUCTION
2            By 2012, Apple sought to measure blood oxygen with a watch. Mitigating signal
3      interference is critical for measuring blood oxygen, and Masimo had developed trade-
4      secret technology to do so. Apple pursued Masimo’s technology to develop a blood-
5      oxygen feature, first by partnering with Masimo and then by hiring Lamego and
6      misappropriating Masimo’s trade secrets. Apple then used those trade secrets in its
7      blood-oxygen feature.    Under these facts, a jury should decide whether Apple’s
8      misappropriation served its purpose—contributing to the value of Apple’s blood-oxygen
9      feature. See Mass. Eye & Ear Infirmary v. QLT Phototherapeutics, Inc., 552 F.3d 47,
10     58 (1st Cir. 2009) (effort to access confidential information supported verdict that
11     defendant benefited from using that information).
12                                       II. ARGUMENT
13     A.    Mitigating signal interference is critical to measuring blood oxygen
14           Pulse rate and blood oxygen can be measured by analyzing light that passes
15     through tissue. JTX-3003 at -139. A plethysmograph (“PPG”) plots the measured signal
16     over time. Id.; JTX-1831 at -842. Pulse rate is determined by counting repeating
17     features, such as peaks, in the PPG for one wavelength. T3-2 at 27:8-28:8. Thus, pulse
18     rate can be measured “easily, with your own eye.” Id. at 27:8-23.
19           But measuring oxygen saturation is more complicated because it compares
20     changes in the amplitude of PPGs for two different wavelengths. Id.; see JTX-1831 at -
21     842. Hotelling, who led Apple’s blood-oxygen development, acknowledged that precise
22     amplitude “wasn’t as important” for pulse rate but is “necessary” for oxygen saturation.
23     T8-2 at 103:5-17. Diab and Hotelling explained oxygen saturation is therefore more
24     susceptible to signal interference than pulse rate. T3-2 at 28:18-29:15; T8-2 at 103:5-
25     17.
26     B.    Apple misappropriated Masimo’s trade secrets to measure blood oxygen
27
28                                                                 JTX-431 at -722. By that

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1      time, Apple had investigated                                                   . Id.
2            Around that time, Perica, Apple’s VP of Corporate Development, believed
3      Masimo was the “platinum” in noninvasive monitoring and sought to integrate
4      Masimo’s technology.      T2-2 at 31:23-32:7; JTX-559.      A separate Apple internal
5      presentation identified Masimo as a “standout” company in the “PPG space.” T9-1 at
6      112:20-113:9; JTX-259 at -774.        Apple then launched “Project Everest,” which
7      Hotelling described as a “serious consideration internal to Apple” whether “to do a joint
8      development agreement with Masimo.” T8-2 at 119:13-19; JTX-263.
9
10
11                                                                 JTX-263 at -761, -767.
12
13                Id. at -776.
14           Apple chose to hire Lamego, and he joined Apple in early 2014. Approximately
15     one month later, Lamego explained that
16                                    JTX-142 at -671.
17
18
19
20                                    JTX-143 at -568.
21     C.    Masimo’s trade secrets substantially contributed to the value of Apple’s
22           blood-oxygen feature
23           1.     L4 substantially contributed to Apple’s blood-oxygen feature
24           After Lamego shared L4 with Apple,
25
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28     JTX-1064 at -859 (shown right).

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1      When Apple introduced a blood-oxygen measurement in the Series 6 watch,
2                                                 JTX-1078 at -632 (shown below on right).
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7                                             JTX-1078 at -632.
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             Apple argues that its February 2018 presentation does not say the
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1      were made because of Apple’s use of L4. Br. at 6. But the Court rejected that argument
2      when denying Apple’s Rule 50(b) motion. Dkt. 1901 at 5. There, the Court quoted
3      Madisetti’s testimony that the presentation shows Apple misappropriated L4. Id.
4             Apple argues that Masimo has not “cited a single piece of evidence” that the
5                          improved performance or was singled out as a key element of the
6      blood-oxygen feature. Br. at 7. But Apple’s February 2018 presentation says that
7
8                                                       JTX-1078 at -632.
9             Apple refuses to concede that
10                              Br. at 7. Apple attacks Madisetti’s testimony that
11                                                                            Br. at 7 (citing T7-
12     2 14:1-24). Apple argues Madisetti’s testimony was “generic,” “conclusory,” and
13     “irrelevant.” Id. But Madisetti was referencing Apple’s February 2018 presentation,
14     which stated that                                     Apple also attacks Diab’s testimony
15     that                                                                 arguing Diab lacked
16     sufficient knowledge of Apple’s technology to testify about the benefits Apple received
17     from L4. Br. at 7. But Diab need not understand Apple’s implementation to know
18
19            Apple attacks Kinrich’s valuation of Apple’s blood-oxygen feature. Br. at 6.
20     Apple argues that Kinrich compared “devices that do and do not contain Blood Oxygen
21     but ignored that all those devices (according to Plaintiffs) misappropriated L4.” Id. But
22     although the models Kinrich compared all used L4 for pulse rate, only Series 6 and 7
23     used L4 to measure blood oxygen. Thus, when Kinrich compared Series 6 and 7 to SE
24     to value the blood-oxygen feature, he cancelled out the value L4 contributed to pulse
25     rate. The value L4 contributed to blood oxygen remained.
26            2.    L5 substantially contributed to Apple’s blood-oxygen feature
27            Masimo discovered that
28                                                                                       T3-2 at

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1      106:18-108:12. Masimo engineer Dalke explained that
2                                                  T4-1 at 149:25-150:18, and that Masimo
3                                                            T5-2 at 17:18-18:12. Lamego was
4      involved in discovering the problem and solutions, which is L5. T4-1 at 140:1-13; T3-
5      2 at 110:2-9.
6             Within a month after Lamego joined Apple in early 2014,
7
8                                                                             JTX-297 at -775.
9
10
11     JTX-143 at -568.
12                                                JTX-184 -173.
13                                                              JTX-541 at -581.
14                                                     Id.
15
16              T7-2 at 29:15-30:11.
17                                                                                         L5
18     substantially benefitted Apple’s blood-oxygen feature.
19            Apple argues that Masimo “failed to introduce any evidence that L5 benefitted
20     blood oxygen at all,” that “any connection” between L5 and blood oxygen “was trivial,”
21     and that Masimo introduced no evidence that L5 “improved accuracy or was otherwise
22     singled out as important.” Br. at 8. To the contrary, as explained above, Masimo showed
23     that
24
25
26            Apple cites Block’s testimony that L5
27                                            Br. at 8. But Block’s testimony conflicts with
28                                                                                        His

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1              Before Lamego,
2                            JTX-153.
3                                                       JTX-153 at -842.
4              Shortly after Lamego arrived
5
6                            JTX-143 at -568.
7
8                                         JTX-140 at 729.
9                                                                Id.
10                                                              JTX-1831 at -842; JTX-1078 at
11     -632.                                                                     T7-2 at 43:19-
12     44:18 (D1); 56:9-57:6 (D3); 69:17-70:15 (D10).
13
14                                              JTX-153 at -842-843.
15             Then,
16
17
18     JTX-4199 at 193.
19                                                                         Id.
20
21                  T10-2 at 99:8-12 (Series 6 uses Gemstone chip); JTX-183 at -448-50
22
23             Apple benefitted by misappropriating D1-10.
24
25     Although Apple has not yet implemented D1-10 in a commercial product, Lamego’s
26     algorithms
27
28             Apple disputes that it used D1-10 to improve from DCS to DSC2. Br. at 4.

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1    Ignoring the full record, Apple argues “there is no mention of the term DCS2 in the trial
2    transcript.” Id.
3             JTX-4199 at -193.
4          Apple also argues that its “DCS technique ‘was fully developed before’” Lamego
5    started at Apple. Br. at 4. But although Apple had DCS before Lamego, it developed
6    DCS2 after he arrived. Indeed,
7                                   Id. at -193. And in an earlier email in the chain,
8                                                                                 Id.
9          Next, Apple argues Masimo cannot show that Apple used D1-10 to improve from
10   DCS to DCS2 because
11                                               do not mention D1-10. Br. at 4-5. But the
12   emails
13                                                                        T7-2 at 43:19-44:18;
14   54:13-55:18. Apple also argues that the emails do not mention blood oxygen and that
15   Apple did not begin developing a blood-oxygen feature until after the engineers sent the
16   emails. But Lamego
17                             JTX-143 and JTX 297, and he
18                                                                JTX-140. Moreover,
19                                                    JTX-431.
20                                    III. CONCLUSION
21         Apple pursued Masimo—the undisputed leader in pulse oximetry—to develop
22   Apple’s blood-oxygen feature. It then hired Lamego, misappropriated Masimo’s trade
23   secrets for measuring blood oxygen, and used the technology in its blood-oxygen
24   feature. A reasonable jury would be free to find that the trade secrets made a substantial
25   contribution to the value of Apple’s blood-oxygen feature.
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1                                  CERTIFICATE OF COMPLIANCE
2               The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 2,415 words, which [choose one]:
4    ___ complies with the word limit of L.R. 11-6.1.
5    _X_ complies with the page limit set by court order dated August 7, 2023 (Dkt. 1901).
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